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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MERRILL PRIMACK, on behalf of                        )
plaintiff and the class defined below,               )
                                                     )
               Plaintiff,                            )
                                                     ) Case No. 2013-cv-6228
               vs.                                   )
                                                     ) The Honorable James F. Holderman
CAREPLUS HEALTH PLANS, INC.,                         )
HUMANA, INC., and DOES 1-10,                         )
                                                     )
               Defendants.                           )

                     DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S
                     COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Defendants CarePlus Health Plans, Inc. and Humana, Inc. hereby move to dismiss

Plaintiff’s Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) and state as follows:

       1.      Plaintiff asserts a single cause of action against both CarePlus and Humana under

the Telephone Consumer Protection Act, 47 U.S.C. § 227. Plaintiff has not alleged sufficient

facts to sustain his claim against either defendant, and his Complaint should be dismissed.

       2.      Plaintiff has failed to allege any facts to support his conclusory allegations that an

automatic telephone dialing system (“ATDS”) was used to place a call to Plaintiff’s cellular

telephone or that the caller utilized a prerecorded message. Plaintiff must allege factual support

for his conclusion that an ATDS or prerecorded voice was utilized. See, e.g., Johansen v. Vivint,

Inc., No. 12 C 7159, 2012 WL 6590551, *2-4 (N.D. Ill. Dec. 18, 2012); Knutson v. Reply!, Inc.,

No. 10-CV-1267, 2011 WL 291076, *1-2 (S.D. Cal. Jan. 27, 2011).

       3.      Plaintiff has also failed to allege any facts from which the Court could infer that

Humana placed a call in violation of the TCPA. Instead, Plaintiff has alleged that a live person,

who claimed to be from Humana, made a call to Plaintiff’s landline phone. (Dkt. 1 at ¶14). Live
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calls to residential lines do not violate the TCPA. See 47 U.S.C. § 227(b)(1)(B). Plaintiff has

also failed to allege any facts to support a theory that Humana could be vicariously liable for any

call to his cell phone purportedly made by CarePlus. See Smith v. State Farm Mut. Auto. Ins.

Co., No. 13 C 2018, 2013 WL 5346430, *2-6 (N.D. Ill. Sept. 23, 2013).

       WHEREFORE, Defendants CarePlus Health Plans, Inc. and Humana, Inc. respectfully

request that the Court dismiss the Complaint in its entirety and with prejudice.


Dated: December 4, 2013                              CAREPLUS HEALTH PLANS, INC. and
                                                     HUMANA, INC.

                                                     By: /s/ Martin W. Jaszczuk
                                                     Martin W. Jaszczuk
                                                     J. Matthew Goodin
                                                     Tamra J. Miller
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                                CERTIFICATE OF SERVICE

        I, Martin W. Jaszczuk, an attorney, do hereby certify that I caused DEFENDANTS’

MOTION TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT TO FED. R. CIV. P.

12(b)(6) to be served on all persons and entities registered and authorized to receive such service

through the Court’s Case Management/Electronic Case Files (CM/ECF) system on December 4,

2013.



                                             /s/ Martin W. Jaszczuk




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